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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA              )
                                      )       CRIMINAL ACTION NO.
        v.                            )         2:17cr430-MHT
                                      )              (WO)
TIMOTHY JASON ECKERMAN                )

                           OPINION AND ORDER

    This cause is before the court on the motion to

continue made by defendant Timothy Jason Eckerman on

October 18, 2017.          For the reasons set forth below, the

court finds that jury selection and trial, now set for

November 6, 2017, should be continued pursuant to 18

U.S.C. § 3161(h)(7).

    While the granting of a continuance is left to the

sound discretion of the trial judge, United States v.

Stitzer,      785   F.2d    1506,     1516   (11th Cir. 1986),         the

court    is   limited      by   the   requirements   of   the    Speedy

Trial Act, 18 U.S.C. § 3161.              The Act provides in part:

             “In any case in which a plea of not
             guilty is entered, the trial of a
             defendant charged in an information or
             indictment with the commission of an
             offense shall commence within seventy
             days from the filing date (and making
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           public)   of    the   information   or
           indictment, or from the date the
           defendant   has   appeared   before  a
           judicial officer of the court in which
           such charge is pending, whichever date
           last occurs.”

§ 3161(c)(1).         The Act excludes from the 70-day period

any continuance based on “findings that the ends of

justice served by taking such action outweigh the best

interest of the public and the defendant in a speedy

trial.”        §     3161(h)(7)(A).               In    granting     such     a

continuance,        the    court         may     consider,    among     other

factors, whether the failure to grant the continuance

would     “result         in        a     miscarriage        of     justice,”

§ 3161(h)(7)(B)(i),            or       “would   deny     counsel    for    the

defendant ... reasonable time necessary for effective

preparation, taking into account the exercise of due

diligence.”        § 3161(h)(7)(B)(iv).

     The court concludes that, in this case, the ends of

justice served by granting a continuance outweigh the

interest of the public and Eckerman in a speedy trial.

Eckerman is charged with being a felon in possession of

a   firearm,    and    all     of       his    previous    convictions      and

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associated criminal records are in Florida. In order to

prepare    for    trial,    defense          counsel    must   review   the

court     documents        for        each     of      Eckerman’s     prior

convictions. Defense counsel has requested assistance

from contacts in Florida to retrieve these records, but

anticipates they will not arrive and be reviewed in

time for timely preparation for the current necessary

court documents, and prepare adequately and effectively

trial     date,    which         is     now     only     a     week   away.

Accordingly, a continuance is warranted and necessary

to allow counsel for Eckerman enough time to review

these for the jury selection and trial in this case.

    The government does not object to a continuance.

                                      ***

    Accordingly, it is ORDERED as follows:




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      (1) The motion for continuance of defendant Timothy

Jason Eckerman (doc. no. 20) is granted.

      (2)    The   jury     selection     and    trial,    now    set     for

November 6, 2017, are reset for March 12, 2018, at

10:00 a.m., in Courtroom 2FMJ of the Frank M. Johnson

Jr.    United      States     Courthouse        Complex,    One     Church

Street, Montgomery, Alabama.

      DONE, this the 31st day of October, 2017.

                                      /s/ Myron H. Thompson
                                   UNITED STATES DISTRICT JUDGE
